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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC


This document relates to:                      PLAINTIFFS’ OPPOSITION TO
                                               ROBERT MERCER’S MOTION TO
ALL ACTIONS                                    DISMISS PLAINTIFFS’
                                               CONSOLIDATED COMPLAINT

                                               Judge: Hon. Vince Chhabria
                                               Courtroom: 4, 17th Floor
                                               Hearing Date: January 23, 2019
                                               Hearing Time: 10:00 a.m.




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                                     I.         INTRODUCTION
         Plaintiffs’ Corrected Consolidated Complaint (“Complaint”) identifies Defendant Robert

Mercer as a non-prioritized defendant, based on complaints consolidated into this multidistrict

litigation. ECF No. 152-2 at ¶ 93. 1 Plaintiffs initially sought to stay claims against Mr. Mercer,

but he insisted upon litigating them now. (Plaintiffs’ Motion for Entry of Pretrial Order

Addressing Claim Prioritization, ECF No. 156.) Because Mercer has also refused to enter into a

tolling agreement with Plaintiffs and has instead insisted that Plaintiffs dismiss their claims

against Mercer with prejudice, Plaintiffs oppose Defendant Mercer’s Notice of Motion and

Motion to Dismiss; Memorandum of Points and Authorities (ECF No. 183) (“Mercer’s Motion”).

         Plaintiffs incorporate by reference the arguments set forth in Plaintiffs’ Opposition to

Facebook, Inc.’s Motion to Dismiss Plaintiffs’ Consolidated Complaint. To the extent that those

arguments apply here, the Court should deny Mercer’s Motion to Dismiss in full. Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 547 (2007). If the Court nonetheless dismisses the pending claims

against Mercer, Plaintiffs seek leave to amend, as of right, against Defendant Mercer.

                                          II.    ARGUMENT

A.       Plaintiffs Plausibly Allege Claims for Relief Against Mercer.
         Plaintiffs’ Complaint states seven claims against Defendant Robert Mercer (not 50, as his

motion claims). Mercer’s Motion at 2. Rather than naming Mr. Mercer indiscriminately as he

asserts, Plaintiff sought to craft claims that go directly to the harm caused by Mercer’s funding of

and involvement with Cambridge Analytica, LLC (“Cambridge Analytica” or the “Company”):

Prioritized Claim IV: Invasion of Privacy by Intrusion into Private Affairs (¶¶ 513-520);

Prioritized Claim V: Invasion of Privacy by Public Disclosure of Private Facts; Prioritized Claim

VIII: Violations of the California Unfair Competition Law; Prioritized Claim IX: Violation of

Article I, Section 1 of the California Constitution; Prioritized Claim X: Violation of the

California Common Law Right of Publicity; Non-Prioritized Claim XXVII: Conversion; and

Non-Prioritized Claim XLVI: Violation of the California Right of Publicity Statute. See ¶¶ 513-

1
    Citations to “¶” refer to the Corrected Consolidated Complaint, ECF No. 152-2.
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520; 563-579; 580-587; 588-595; and 814-817. Each of these claims alleges wrongful conduct by

Cambridge Analytica, in which the Complaint alleges Mercer participated. ¶ 93.

       As described in the Complaint, Cambridge Analytica Holdings LLC is a privately held

limited liability company funded by Mercer. 2 ¶ 98. Cambridge Analytica Holdings LLC created

and initially ran Cambridge Analytica. Id. Once Cambridge Analytica was up and running, the

Complaint asserts that Mercer met with the Company’s CEO, Alexander Nix, and then-director

of research, Christopher Wylie, to discuss Cambridge Analytica’s plan to harvest Facebook

users’ data in order to create sophisticated psychological and political profiles. Id. ¶ 93. Mercer,

a computer scientist himself who pioneered AI and machine translation, is said to have been

keenly interested in understanding the science underlying Cambridge Analytica’s methods,

which relied heavily on the ill-gotten Facebook user content and information. 3

       Plaintiffs do not allege that Mercer’s mere investment in Cambridge Analytica Holdings

LLC makes him liable. In fact, contrary to Mercer’s assertion that he did not know or have “any

reason to believe that Cambridge Analytica planned to collect data from Facebook users,”

Mercer’s Motion at 5, the Complaint alleges that Mercer not only knew about, but also

participated in, Cambridge Analytica’s plans to harvest and use Facebook users’ data. Id. From

this allegation, the Court can easily infer that Mercer is culpable under the seven statutes and

common law provisions alleged in the Complaint.

B.     The Court Has Jurisdiction over Mercer.
       Mercer’s argument that the Court lacks jurisdiction over him is meritless. The Court must

evaluate the nature of Mercer’s contacts in the relevant forum states with regard to the long-arm

statutes of New Jersey and Texas. Because both states have long-arm statutes that authorize the


2
  Cambridge Analytica Holdings and related entities are not named in the Complaint pursuant to
  Title 11, § 362 of the United States Bankruptcy Code, in addition to this Court’s order staying
  such claims. See Pretrial Order No. 5: Scheduling at 1, ECF No. 103 (“The case is stayed as to
  the Cambridge Analytica defendants pending the outcome of the parties’ request of the
  bankruptcy court for relief from the automatic stay.”).
3
  Carole Cadwalladr, The Cambridge Analytica Files ‘I Made Steve Bannon’s Psychological
Warfare Tool: Meet the Data War Whistleblower, Guardian (Mar. 18, 2018).
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exercise of personal jurisdiction to the fullest extent authorized by due process, Mercer’s Motion

at 6, the Court must assess personal jurisdiction with regards to federal due process law. “[S]ince

federal law accordingly controls, this court [must] look to its own circuit as the source for federal

law.” In re Dynamic Random Access Memory (Dram), 2005 WL 2988715, at *2 (N.D. Cal. Nov.

7, 2005).

         There is specific jurisdiction over Mercer. The Ninth Circuit applies a three-part test to

determine whether a defendant’s activities are sufficiently related to the forum state to establish

specific jurisdiction: (1) whether the defendant purposefully availed itself of the privileges of

conducting activities within the forum state; (2) whether the underlying claims arise out of or

result from the defendant’s forum-related conduct; and (3) whether the exercise of personal

jurisdiction would be reasonable. Glencore Grain Rotterdam B.V. v. Shivnath Rai Harnarain

Co., 284 F.3d 1114, 1123 (9th Cir. 2002). By both funding and participating in Cambridge

Analytica’s scheme to harvest data from Facebook users and target those users with offensive

advertising designed to play on their psychological vulnerabilities across the United States—

including in New Jersey and Texas—Mercer fulfills all three prongs.

C.       The Court Should Grant Leave to Amend the Complaint to Add Additional Facts
         Which Demonstrate Defendant Mercer’s Culpability for the Damage Plaintiffs Have
         and Will Suffer.
         Since the filing of Plaintiffs’ Complaint, additional facts have come to light regarding

Mercer’s involvement with Cambridge Analytica. 4 Moreover, documents may be produced to

Plaintiffs in Cambridge Analytica’s bankruptcy proceeding that bear on defendant Mercer’s

involvement in Plaintiffs’ allegations. To the extent additional information comes to light,

Plaintiffs seek leave to replead.




4
    See, e.g., Jane Mayer, New Evidence Emerges of Steve Bannon and Cambridge Analytica’s
    Role in Brexit, The New Yorker (Nov. 17, 2018).
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                                     III.   CONCLUSION
       For the reasons stated above, the Court should deny Mercer’s Motion.

Dated: November 30, 2018                                Respectfully submitted,


KELLER ROHRBACK L.L.P.                                  BLEICHMAR FONTI & AULD LLP

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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)


       I, Lesley E. Weaver, attest that concurrence in the filing of this document has been

obtained from the other signatory. I declare under penalty of perjury that the foregoing is true

and correct.

       Executed this 30th day of November, 2018, in Oakland, California.


                                              /s/ Lesley E. Weaver
                                              Lesley E. Weaver




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                                    CERTIFICATE OF SERVICE


          I, Lesley E. Weaver, hereby certify that on November 30, 2018, I electronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.


                                               /s/ Lesley E. Weaver
                                               Lesley E. Weaver




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